                    EXHIBIT A


                   Proposed Order




DOCS_LA:333136.5
                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

                                                                             )
In re:                                                                       )   Chapter 11
                                                                             )
RTI HOLDING COMPANY, LLC,1                                                   )   Case No. 20-12456 (JTD)
                                                                             )
                                                                             )   (Jointly Administered)
                                      Debtors.                               )
                                                                             )

        ORDER PURSUANT TO SECTION 327(e) OF THE BANKRUPTCY CODE
     AUTHORIZING THE EMPLOYMENT AND RETENTION OF BAKER DONELSON
                  BEARMAN CALDWELL & BERKOWITZ, PC,
                 AS SPECIAL COUNSEL TO THE DEBTORS AND
        DEBTORS IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE

                    Upon the application (the “Application”)2 of the above-captioned debtors and

debtors in possession (the “Debtors”) seeking authorization to retain and employ Baker Donelson

Bearman Caldwell & Berkowitz, PC (“Baker Donelson” of the “Firm”) as special counsel to

serve as real estate lease, ERISA, labor and employment counsel, including counsel on litigation



1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.
2
    Capitalized terms used but not defined herein shall have the meanings set forth in the Application.

DOCS_LA:333136.5
on these issues, in these chapter 11 cases; and upon the declarations of Steven F. Griffith, Jr. and

Shawn Lederman in support of the Application (the “Declarations”) and the Statement Under

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Statement”) that were submitted

concurrently with the Application; and the Court being satisfied based on the representations

made in the Application, the Declaration, and the Statement that Baker Donelson neither

represents nor holds any interest adverse to the Debtors or to the estates with respect to the

matters on which Baker Donelson is to be employed, and that the employment of Baker

Donelson as special real estate lease, ERISA, labor and employment counsel to the Debtors is

necessary and in the best interests of the Debtors and their estates; and it appearing that the Court

has jurisdiction to consider the Application; and it appearing that due notice of the Application

has been given and no further notice need be given; and upon the proceedings before the Court;

and after due deliberation and good and sufficient cause appearing therefor;

                   IT IS HEREBY ORDERED THAT:

                   1.   The Application is GRANTED.

                   2.   Pursuant to sections 327(e) and 328(a) of the Bankruptcy Code, the

Debtors are authorized to retain and employ Baker Donelson as special real estate lease, ERISA,

labor and employment counsel, including for litigation on these issues, in these chapter 11 cases,

nunc pro tunc to the Petition Date, pursuant to the terms set forth in the Application. Baker

Donelson may provide such other services as the Debtors may request.




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DOCS_LA:333136.5
                   3.   Baker Donelson shall be compensated for legal services rendered to the

Debtors and reasonable expenses incurred in connection therewith in accordance with the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other orders of this Court.

                   4.   Baker Donelson shall make a reasonable effort to comply with the U.S.

Trustee’s requests for information and additional disclosures as set forth in the U.S. Trustee

Guidelines in connection with the Application and any final fee application to be filed by Baker

Donelson in these cases.

                   5.   The Court shall retain jurisdiction over any disputes, if any, that may arise

in connection with this Order.

Dated: _________________, 2020

                                               Hon. John T. Dorsey
                                               United States Bankruptcy Judge




                                                 -3-
DOCS_LA:333136.5
